UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CLEAN ENERGY EXPERTS,

                            Plaintiff,

                       v.                                      No. 23-cv-1940 (RA)

 NICK BENHAMMOU and DANIEL                                            ORDER
 YOMTOBIAN,

                            Defendants.


RONNIE ABRAMS, United States District Judge:

       On June 21, 2023, the Court adjourned an initial status conference in this matter after it

became clear that the parties came unprepared to discuss the case. The Court ordered the parties

to submit a joint letter by July 12, 2023, stating: (1) whether the parties consent to the proposed

case management plan filed on June 21; (2) whether Plaintiff opposes Defendants’ request to stay

discovery pending the anticipated motion to dismiss, and if so, what Defendants’ bases are for

granting such a stay; and (3) proposing a new date for an initial status conference in which the

parties will be prepared to have a productive discussion. No letter has been filed to date.

       In addition, by order dated June 14, 2023, the Court extended Defendants’ deadline to

respond to the complaint to July 31, 2023. No answer or motion to dismiss has been filed. Indeed,

no activity has taken place on the docket since the Court’s June 21 conference.
         The parties shall file a joint letter, as ordered at the June 21 conference, no later than August

10, 2023. Failure to do so may result in dismissal of this action pursuant to Federal Rule of Civil

Procedure 41(b).

SO ORDERED.

Dated:      August 2, 2023
            New York, New York

                                                     Ronnie Abrams
                                                     United States District Judge




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